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CLERK, Uy

  

UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

June 2017 Grand Jury
UNITED STATES OF AMERICA, No. CRAM kf & SY
Plaintiff, INDICTMENT
Vv. [18 U.S.C. § 1347: Health Care
Fraud; 18 U.S.C. § 2: Aiding and
ANNA VISHNEVSKY and Abetting and Causing an Act to be
EDDIE HERNANDEZ, Done; 18 U.S.C. § 981(a)(1)(C) and
28 U.S.C. § 2461(c): Criminal
Defendants. Forfeiture]

 

 

 

 

The Grand Jury charges:
COUNTS ONE THROUGH ELEVEN
[18 U.S.C. §§ 1347, 2]

A. INTRODUCTORY ALLEGATIONS

 

1. At all times relevant to this Indictment:
The Co-Schemers
a. Defendant ANNA VISHNEVSKY (“VISHNEVSKY”) was a
resident of Los Angeles, California, and she owned and operated a
sleep study clinic in Los Angeles, California under the name Atlas
Diagnostic Services, Inc. and ADA Services, Inc. (collectively,

“Atlas”).

 

 
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b. Defendant EDDIE HERNANDEZ (“HERNANDEZ”) was a resident
of various cities in Los Angeles County, California, and he worked
for the United Parcel Service (“UPS”) as a driver out of a
distribution center in Gardena, California, recruiting patients for

Atlas through his work at UPS. Defendant HERNANDEZ also owned and

operated Eddie C. Hernandez Consulting, Inc. (“Hernandez
Consulting”), and maintained bank accounts in the name of that
company.

Health Care Benefit Programs

 

Cc. Employers, including UPS and Costco, established
employee health care benefit plans to provide health care benefits to
their employees and employees’ qualifying dependents.

d. The health care benefit plans, including the plans
that UPS and Costco established for their employees, were health care
benefit programs (the “health care benefit programs”), affecting
interstate commerce, that provided medical benefits, items, and
services to employees and their qualified dependents.

e. The employees who qualified for benefits under the
health care benefit programs were commonly referred to as plan
“members” or “participants.”

f. Health care providers that provided services covered
by the health care benefit programs were commonly referred to as
“providers.”

g. The health care benefit programs required, as a
condition of coverage, that a claim for benefits set forth,- among
other things, the name of the participant, the participant's
identification number, the participant’s address, the participant’s

policy group number, the insurance plan name, the name of the

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patient, the patient's address, the patient’s date of birth, the name
of the referring physician, identification of the service(s)
provided, the date(s) of the service(s) provided, and charges billed.

h. The health care benefit programs reimbursed providers
only for services that were medically necessary and that the provider
had in fact provided.

i. To submit a claim for covered benefits under health
care benefit programs, a provider was required to submit information
on a claim form (Form 1500), on which the provider was required to be
truthful, complete, and not misleading.

B. THE SCHEME TO DEFRAUD

 

2. Beginning on a date unknown but no later than in or about
March 2014, and continuing to at least in or about June 2016, in Los
Angeles County, within the Central District of California, and
elsewhere, defendants VISHNEVSKY and HERNANDEZ, together with others
known and unknown to the Grand Jury, aiding and abetting each other,
knowingly, willfully, and with intent to defraud, executed and
attempted to execute a scheme and artifice: (a) to defraud health
care benefit programs as to material matters in connection with the
delivery of and payment for health care benefits, items, and
services; and (b) to obtain money from health care benefit programs
by means of materially false and fraudulent pretenses and
representations and the concealment of material facts in connection
with the delivery of and payment for health care benefits, items, and
services.

3. The fraudulent scheme was carried out, in substance, in the

following manner:

 

 
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a. Defendants VISHNEVSKY and HERNANDEZ, and others
working with them and at their direction, recruited patients by
offering cash for those patients’ participation in sleep study
testing at Atlas, as well as additional cash for bringing dependents
and referring co-workers to Atlas for sleep study testing.

b. Defendants VISHNEVSKY and HERNANDEZ, and others
working with them and at their direction, recruited patients for
sleep study testing knowing that no doctor had prescribed sleep study
testing for the patients or otherwise determined that such testing
was medically necessary, and regardless of whether it was prescribed
or medically necessary.

c. The recruited patients underwent a single night of
purported sleep study testing at Atlas, which defendant VISHNEVSKY
and others working with her and at her direction represented was
successful, even if patients reported they had been unable to sleep
during the study.

d. After the purported testing was completed, defendant
VISHNEVSKY failed to score the resulting data or have that data
scored, and otherwise failed to provide the data to anyone that could
have scored or interpreted the data, as required for diagnosis and
treatment, and she further failed to provide test results to patients
and/or their physicians, even upon request.

e. Defendant VISHNEVSKY submitted and caused to be
submitted insurance claims for sleep study testing performed on the
recruited patients, billing not only for the one night of sleep study
testing (regardless of medical necessity and the lack of scoring or
interpretation), but also, in most instances, for an additional,

consecutive night of sleep study testing that was never performed.

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£. In the insurance claims that defendant VISHNEVSKY
submitted and caused to be submitted, she listed physicians that had
never treated the recruited individuals much less prescribed sleep
study testing for them.

g. As a result of the fraudulent billings, checks were
mailed to Atlas as payment on the fraudulent billings, and for the
UPS employees, checks were also mailed to patients, who subsequently
endorsed checks or remitted payments to Atlas, defendant HERNANDEZ,
and Hernandez Consulting, at defendant HERNANDEZ’s instruction.

h. Defendant VISHNEVSKY paid defendant HERNANDEZ and
others working with her and at her direction from bank accounts
maintained in Atlas’s name, knowing that some of the money would be
used for patient recruitment, as discussed above, including cash
payments to patients who came to Atlas for sleep study testing and
brought or referred others.

Cc. EXECUTION OF THE SCHEME TO DEFRAUD

 

4, On or about the dates set forth below, within the Central
District of California, and elsewhere, defendants VISHNEVSKY and
HERNANDEZ, together with others known and unknown to the Grand Jury,
aiding and abetting each other, executed and attempted to execute the
fraudulent scheme described above, knowingly, willfully, and with the
intent to defraud, by submitting and willfully causing to be
submitted the following false and fraudulent claims for sleep study

testing purportedly provided to the individuals identified below:

 

 

 

 

 

COUNT DATE CLAIM | CLAIM | CLAIMED AMOUNT OF PATIENT
SUBMITTED NUMBER DATE OF CLAIM .
SERVICE
ONE 3/6/2014 EBYODCDMWO0O | 3/3/2014 $10,000 R.S.

 

 

 

 

 

 

 

 

 

 
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COUNT DATE CLAIM | CLAIM CLAIMED AMOUNT OF | PATIENT
SUBMITTED | NUMBER DATE OF CLAIM
SERVICE
TWO 4/7/2014 ELTWC8ZNTOO | 3/30/2014 $8,000 C.P
THREE | 8/25/2014 | EGUJLG9SK300 | 8/15/2014 $10,000 G.F
FOUR 9/8/2014 EMJLHK30700 | 8/19/2014 $10,000 M.S
FIVE 9/8/2014 EGJHLN2G00 | 8/29/2014 $9,500 Y.R.
SIX 9/8/2014 E5TWGX2xXQ00 | 8/30/2014 $9,500 S.A.
SEVEN | 11/11/2014 | EK35gQ8B800 | 7/14/2014 $10,000 J.N.
EIGHT [1/27/2015 | 15031259463 |1/24/2015 $10,500 A.P
NINE 2/1/2015 15042139948 | 2/1/2015 $10,500 S.0.
TEN 5/23/2015 |15148122387 | 5/23/2015 $10,500 R.P
ELEVEN | 11/23/2015 | 15350135518 [11/22/2015 | $9,950 C.s

 

 

 

 

 

 

 

 

 

 

 
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FORFEITURE ALLEGATION

[18 U.S.C. § 981(a) (1) (C) and 28 U.S.C. § 2461(c)]

1. Pursuant to Federal Rule of Criminal Procedure 32.2(a),
notice is hereby given that upon conviction of any of the offenses
set forth in Counts One through Eleven of this Indictment, each
defendant so convicted shall forfeit to the United States of America,
pursuant to Title 18, United States Code, Section 981(a) (1) (C) and
Title 28, United States Code, Section 2461(c), the following:

a. All right, title and interest in any property, real or
personal, which constitutes or is derived from proceeds obtained,
directly or indirectly, as a result of each such violation, or
property traceable to such property; and/or

b. To the extent such property is not available for
forfeiture, a sum of money equal to the total value of property
described in paragraph l(a).

2. Pursuant to Title 21, United States Code, Section 853(p),
as incorporated by Title 28, Section 2461(c), each defendant so
convicted shall forfeit substitute property, up to the total value of
the property described in paragraph 1 if, by any act or omission of
the defendant, the property described in paragraph 1 or any portion
thereof: (a) cannot be located upon the exercise of due diligence;
(b) has been transferred or sold to, or deposited with, a third
party; (c) has been placed beyond the jurisdiction of the court; (d)

has been substantially diminished in value; or (e) has been

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commingled with other property that cannot be divided without

difficulty.

A TRUE BILL

Jé/

Foreperson

SANDRA R. BROWN
Acting United States Attorney

LAWRENCE S. MIDDLETON
Assistant United States Attorney
Chief, Criminal Division

GEORGE S. CARDONA
Assistant United States Attorney
Chief, Major Frauds Section

JILL FEENEY
Assistant United States Attorney
Deputy Chief, Major Frauds Section

KERRY L. QUINN
Assistant United States Attorney
Major Frauds Section

 
